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     Assistant Federal Defender
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5
     Attorney for Defendant
6    BRANDON SAVALOJA
7
                               IN THE UNITED STATES DISTRICT COURT
8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                    )   Case No. 10-cr-192 JAM
                                                  )
11                         Plaintiff,             )   ORDER REGARDING COMPETENCY
                                                  )   EVALUATION AND TREATMENT
12         v.                                     )
                                                  )   Date: September 1, 2015
13   BRANDON SAVALOJA,                            )   Time: 9:15 a.m.
                                                  )   Judge: Hon. John A. Mendez
14                         Defendant.             )
                                                  )
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16
                                                  ORDER
17
             The parties appeared before the Court on September 1, 2015. Defense counsel declared a
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     doubt regarding Defendant’s mental competency under 18 U.S.C. § 4241(a). The Court finds
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     that reasonable cause exists to believe that Mr. Savaloja may presently be suffering from a
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     mental disease or defect rendering him mentally incompetent to the extent that he is unable to
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     understand the nature and consequences of the proceedings against him or to assist properly in
22
     his defense. The Court orders that Mr. Savaloja be committed to the custody of the Attorney
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     General for placement in a suitable facility for a psychiatric or psychological examination and
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     treatment under the provisions of 18 U.S.C. § 4247(b) and (c) and § 4241.
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28   ///

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1            The Court recommends that Mr. Savaloja be placed in either MCFP Springfield, or
2    Butner, North Carolina, but only if those facilities have the space availability and meet the
3    security classification for the defendant.
4    DATED: September 1, 2015
5                                                          /s/ John A. Mendez_____________
                                                           HON. JOHN A. MENDEZ
6                                                          United States District Court Judge
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     O Order re Competency Evaluation/Treatment      -2-
